Case 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 1 of 50

1 | KATES, GOLD (SBN 156117)
Kate.Gold@dbr.com

2 | DRINKER BIDDLE & REATH LLP
1800 Century Park East

3 | Suite 1500

Los Angeles, CA 90067-1517
4 | Telephone: (310) 203-4000
Facsimile: (310) 229-1285

JAIME D. WALTER (SBN 281066)
Jaime. Walter@dbr.com

DRINKER BIDDLE & REATH LLP

50 Fremont Street, 20th Floor

San Francisco, CA 94105-2235
Telephone: (415) 591-7500
Facsimile: (415) 591-7510

oO CO ~~ DD

Attorneys for Defendant
10 | BED BATH & BEYOND INC.

 

 

 

11 UNITED STATES DISTRICT COURT
12 EASTERN DISTRICT OF CALIFORNIA
13
14 | TAYLOR MAGAZINER, Case No.
15 Plaintiff, DECLARATION OF KATE S. GOLD IN
SUPPORT OF DEFENDANT BED BATH &
16 || v. BEYOND INC.’S REMOVAL TO
FEDERAL COURT
17 | BED BATH & BEYOND, INC., and
DOES 1 through 5, inclusive, Complaint Filed: March 20, 2017
18 Trial Date: None Set
Defendants.

19
20
21
22
23
24
25

26
27
28

DRINKER BipovE & | DECLARATION OF KATE S. GOLD IN SUPPORT OF CASE NO.

ATTORNEYS AT LAW NOTICE OF REMOVAL

Los ANGELES

 

 
Oo Ce ~IF DR A SP WD KH

mb HM NO LH DM NY KN DN rw
QA nA FB HO NYO F& OD DO mA AN DH FSF WY NH KK &

28

DRINKER BIDOLE &
REATH LLP
ATTORNEYS AT LAW
Los ANGELES

 

Case 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 2 of 50

I; Kate S. Gold, declare as follows:

I. I am a partner with the firm Drinker Biddle & Reath LLP, counsel of record for
defendant Bed Bath & Beyond Inc. (“Defendant”). I make this declaration in support of
Defendant’s notice of removal. Except as otherwise indicated below, I have personal knowledge
of the facts set forth in this declaration and, if called to testify under oath, could and would testify
competently thereto.

2. Attached as Exhibit A are true and correct copies of the Complaint and Summons
served on Defendant, through its counsel of record, on May 30, 2017.

3, Notice of this removal is being given to the State Court pursuant to 28 U.S.C. §
1446(d). A true and correct copy of the notice of removal to the State Court (without
attachments) is attached hereto as Exhibit B. Exhibits A through B to this declaration constitute
all process, pleadings, and orders served on or by Defendant in this action. |

4, Attached as Exhibit C is a true and correct copy of the Verdict and Settlement
Summary in Smith v. Orange Blossom Lines, Inc., No. YC029244 (L.A, Cty. Sup. Ct. Sept. 25,
1998), which is also available at 1998 WL 866029. |

5. Attached as Exhibit D is a true and correct copy of the Judgment on Special
Verdicts in Sallustio v. Kemper Independence Ins. Co., No. 34-2007-00882286 (Sac. Cty. Sup.
Ct. May 22, 2014) (“Sallustio”).

6, Attached as Exhibit E is a true and correct copy of the Complaint filed in

Sallustio.
7. Attached as Exhibit F is a true and correct copy of the demand letter mailed to
BBBY in this action.

Executed on this 29th day of June, 2017, at Los Angeles, California.

I declare under penalty of perjury under the laws of the United States and the State of

Kate S. Gold

 
 

California that the foregoing is true and correct.

DECLARATION OF KATE §, GOLD IN SUPPORT OF
NOTICE OF REMOVAL 2 CASE NOG i mmmnnmnnsnannnne

 
Case 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 3 of 50

EXHIBIT A
Case 2:17-c\SUIBAMKINSAC Document 1-2. Filed 66/29/17, PAH AEF EC nn

   
  

(CITACION vo J DICIAL) ‘sore

iTICE TO DEFENDANT: hoe: Mf Re :

VISO AL DEMANDADO): oo. superior Pout of Californie

‘D BATH & BEYOND, INC., DOES | through 5, inclusive. Super On Biseer

os WAR 20 2017

1U ARE BEING SUED BY PLAINTIFF: Jake Chat

) ESTA DEMANDANDO EL DEMANDANTE): Executive Officer & Clerk
ay: A. Anderson, Deputy

VYLOR MA GAZINER

without your being heard unless you respond within 30 days. Read the information

 

 

 

 

 

 

 

OTICE! You-have been sued. The court may decide against you

310W.
You have 30 CALENDAR DAYS af
saved ontihe plaintif, A letler or phone

o file a written response at this court and have a copy
call will not protect you. Your writen response must be in proper legal form if you want the court lo hear your
re may be a caud form that you Gan use for your response. Yau Can find these court farms and more infarmation al the California Cours

st you. H you Gannol pay the filing fee, ask

t- Help Center fwww.courtinfo.ca.gov/sellhelp), your county law library, oF the courthouse neares
yonse an time, you may lose the case by defaull, and your wages, money, aad properly

ter this sumimons and legal papers are served on you t

  
 

nine &
we court clark for a fee waiver farm. If you do not file your res}
iay be taken withoul further warning from the court.

There are other legal requirements. You-may want to cal
farral service, U you cannot afford an allorney, you may be eligible for free legal servic
tthe Calfarnia Legal Services Web site (www. Jawhelpcatiion ¢

tacting your local Gourl of courtly bar association, NOTE: The court has a statutory lien for waived fees and
a civil case. The courl's lien must be paid pefore the court will dismiss the case.
su contra sin escuchar su version. Lea la informacion a

Lan attomey right away. If you do not know an attorney, you may want to call an attorney
s from a nonprofit legal services program. You can Jocate
wy}, the California Courts Online Self-Help Center

 
  

vase nonprofit Groups a
aww. courtinio.ca. gov/sellhelp), oF by con
asts on any setlement af arbitration award of $10,000 or more in
AVISO! Lo pan demanitade. Sino responde dentro de 30 dias, fa corte puede decidir en
ontinuacion
Tiene 30 DIAS DE CALENDARIO después de que le entreguen esta citacion y papeles legales para presentar una respuesta por escrito en esta

orte y hacer que se entregue una copia al demandante, Una carta 0 una llamada telefénica no lo protegen Su respuesta por escrito tiene que estar
 forrnato legal correcto si desea que procesen ble que haya un formulario que usted pueda usar para Su respuesta.

ouede encontrarestos formularios de la corte y ma ‘as Cortes de California (www.sucorte.ca.gov), en la
iblioteca de leyes de su condado o en la corte que le qt ia cuota de presentacién, pida al secretario de fa corte

iue le dé un formularia de exencioén de pago de cuotas. puede perder el caso por incumplimiento y la corte le

rodra quitar su sueldo, dinero y bienes sin mas advertencia

Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
emision @ abogados, Sino puede pagar a un abogado, es posible que cumpla con los requisitos para abiener servicios lagales gratuites de un
srograma de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de fucro en el sifio web de California Legal Services,

www. lawhelpcalifornia org), en e/ Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) 0 poniéndose en contacto con la corte o el
solegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
sualquier recuperacion de $10, 000 6 mas de valor recibida mediante un acuerdo 0 una concesion de arbitraje en un caso de derecho civil, Tiene que
a corte pueda desechar el caso.

rel gravamen de la corte antes de qule la COTE Pee OO ee ea annem . a
emBev 003926?

su caso en fa corte. Es posi
gs informacion en el Centro de Ayuda de |
yede més cerca. Si no puede pagar
Sino presenta su respuesta a tiempo,

 

 

 

 

 

 

 

he name and address of {he court is:
=) nombre y direcciin de la corte es):

RIOR COURT OF CALIFORNIA IN AND FOR THE COUNTY .

 

 

 

      
   

 

   

HE SUPI
0820 Justice Center Drive
roseville, CA 95678
s, and telephorie number of plaintiif's attorney, Or plaintiff without an attomey, is:

he name, addre
&) pornbre, da die abogada, es):

ny Mer eleforio dG abogado del demandante, 0 del demandane que no tiene
Leonard (173544): Tele: (916) 787 ASA

on 4. el ndmero de teléfonie del

    
 

        

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

her
[ENK. LEONARD, A Professional Law Corporation
uglas Blvd., Suite 200, Roseville, CA 9566] ‘
‘ . ea } woe

\ 2017 Clerk, by (\j . Sahel , Deputy
Fe _ MM ‘ 2 (| . ( Sacretlario} ean TAAL eh, finns ( Adjurito)
For proof of service of this summons, use Broot of Service of Summons (form POS-OTOL) \

ulario Proof of Service of Summons, (POS-010)). AA. Anderson

Para prueba de entrega de esta citacion use el form
Lenten NOTICE TO THE PERSON SERVED: You are served

(SEA 1, | as an individual defendant.

 
 

2. as the person sued under the fictitious name of (specify):

   

| 3. C9 on behalf of (specity)-
under: CCP 416.10 (corporation) CCP 416.60 (minor)
CCP 416.20 (defunct corporation) CCP 416.70 (conservatee)
CCP 416.40 (association or partnership) CCP 416.90 (authorized person)
- other (specify):

4. CJ by personal delivery on (date):
i Page 1 of 1

 

 
  

 

Led for Mandan — ~~ —_ SUNIM ONS —

Judd mancil of Califarriig. ‘
ARO ay. July 1, 2008} Essential
fe\Forms

 

 

 

www, courtinfo.ca.gov

 
19
20
21

22

24
25
26
27
28

29

 

ROBERT P. HENK (147490)
SHERI L. LEONARD (173544) i
HENKLE.ON ARD Sup eeu, uit of Catifornig
A Professional Law Corporation peeee
2260 Douglas Blvd., Suite 200 MAR 20 2017
Roseville, CA 95661 dake Chatters
“Telephone: (916) 787-4544 J xceutivg Officer & Cherk:
Fax. (916) 787-4530 Hye. Anderson, Denaty
Attorneys for Plaintiff
TAYLOR MAGAZINER
IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
IN AND FOR THE COUNTY OF PLACER
TAYLOR MAGAZINER casnno, 8CV0039281
Plaintiff, PLAINTIEI’?S COMPLAINT FOR
DAMAGES FOR
VS.
lL. BREACH OF LABOR CODE:
BED BATH & BEYOND, INC., and DOES 1 FAILURE TO PAY OVERTIME
through 5, inclusive, WAGES;
. > BREACH OF LABOR CODE:
Defendant. FAILURE TO PAY ALL WAGES
OWED AT TERMINATION OF
EMPLOYMENT;
3. BREACH OF LABOR CODE: FAILURE
TO KEEP ACCURATE TIMECARDS;
AND,
on 4. DEFAMATION
COMES NOW, Plaintiff, TAY LOR MAGAZINER, individually, alleging Defendant,
BED BATH & BEYOND, INC. as follows:
GENERAL ALLEGATIONS
1. Plaintiff TAYLOR MAGAZINER is an individual, and a resident of Placer
County, State of California.
2. Plaintiff is informed, believes, and thereon alleges that Defendant BED BATH &
BEYOND, INC. is, and at all times mentioned herein was a business entity, operating in the

 

Case 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 5 of 50

  
 

  
 

 

County of Placer, State of California.

Plaintiff's Complaint for Damages

 
20 *

aoe

22

23

24

25

26

27

28

29

herein alleged, were proximately caused by their conduct. Plaintiff will amend this Complaint to

 

| of sixteen stores to which he had been assigned, as well as spend additional hours traveling

issues. When on the floor, Plaintiff was also responsible for customer service and sales.

 

 

 

Case 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 6 of 50

3. Plaintiff is ignorant of the true names and capacities of Defendants sued herein as
DOE S 1 through 5, inclusive, and therefore sues said Defendants by such fictitious names.
Plaintiff is informed, believes, and thereon alleges that each of the fictitiously named Defendants

is responsible in some manner for the occurrences herein alleged, and that P| laintiff damages, as

allege the true names and capacities of said defendants when they are ascertained.

4. Plaintiff is informed, believes, and thereon alleges that at all times mentioned
herein, each Defendant may have been an agent, servant and/or employee each of the remaining
Defendants and may have acted pursuant fo a common plan, that each Defendant may have
‘authorized, negligently su upervised and/or ratified each act of each remaining Defendant, and that
each Defendant may be the alter ego of each of the remaining Defendants. Plaintiff is informed,
believes, and thereon alleges that Defendants, and each of them, were and are responsible for the
acts causing Plaintiff damages as hereinafter alleged.

. 5. Plaintiff began his employment on or about June 24, 2011 as a District Area Loss
Prevention Manager for Defendant's retail organization. At all times during his employment,
Plaintiff was wrongfully classified as exempt from overtime.

6. Upon his hire, Plaintiff was required to work a minimum of 10 hours a day in one

amongst those stores. During his employment, Plaintiffs responsibilities increased to include
responsibility for twenty-two stores.
7. Plaintiff spent approximately twenty percent of this time walking around his

various assigned locations looking for arry loss prevention issues (e.g., shoplifting) and/or safety

8. Plaintiff spent approximately fifty percent of his work time looking at
transactional records of sales that Defendant’s corporate office identified as suspicious. Plaintiff
was responsible for utilizing routine procedures to review these documents to see if an actual
loss occurred. Plaintiff had little influence over how his daily activities were to be performed
and at no time did Plaintiff perform work that was managerial, administrative or professional
over fifty percent of his work day.

 

 

 

 

 

 

 

 

 

 
NO

"“¢. blater admitted and agreed to remove several inaccuracies in the Notice.

20

2)

22,

23

24

25
26
27
28

29

Plains was given a document entitled “Associate Disciplinary Notice” that purports to give
detailed reasons for his termination. ‘lhis notice listed several acts of “improper conduct”. The
; document also wrongfully stated that Plaintiff] had “failed to be forthright in his information” to

‘{-his supervisor by acting in an inappropriate manner and by utilizing bad judgment. Defendant

:. purposefully misrepresenting information to his employer. Due to a requirement to self-publish
this defamatory information, Plaintiff has to say that he was terminated for lack of integrity.

Plaintiffs career in law enforcement has been significantly damaged as a result of his required

 

Case 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 7 of 50

9: On or about June 30, 2016, Plaintiff was informed that be was being terminated.

10. Still, Defendant has stated in writing that Plaintiff “failed to demonstrate”
integrity and “musr epresented facts” regarding an investigation.

11. Plaintiff has a Bachelor of Science depress in Criminal Justice and has put himself
through the Sacramento County Sheriff?s Department Academy in 2009 earning him a POST
academy graduate certificate. Plaintiff had long pursued a career in law enforcement, which
requires him to disclose if he has been terminated and the reason for the termination.

12. Defendant’s termination documents are defamatory as they accuse Plaintiff of

 

self-publication.
FIRST CAUSE OF ACTION
Breach of Labor Code: Failure to Pay Overtime Wages
13. Plaintiff incorporates by reference, as if fully set forth herein, the provisions of

paragraphs | through 12 of this Complaint.
14. The Labor Code authorizes the [WC to promulgate orders regulating wages, hours
and working conditions throughout California. The overtime orders establish daily and weekly
overtime requirements for nonexempt employees. Because Plaintiff was not primarily engaged
in work that was exempt, he is owed one and one-half times his hourly rate for overtime hours

worked in excess of either eight hours a day or forty hours a week.

Plaintiff's Complaint for Damages

 
20
2}

22

23. |

24 .

25

26.
oy
28

29 -

Case 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 8 of 50

15, California Labor Code § 1194 allows that any employee receiving less than the
| legal overtime compensation applicable to the employee 1s entitled to recover in a civil action the
unpaid balance of the full amount of the overtime compensation owed.

16. Plaintiff is entitled to recover from Defendant, pursuant to California Labor Code
§1194-and §1194.2, all unpaid overtime and an additional amount as liquidated damages.
Plaintiff :s also entitled to recover reasonable attorneys’ fees, and costs of the action.

WHEREFORE, Plaintiff prays judgment against Defendant as hereinafter set forth.

SECOND CAUSE OF ACTION
Breach of Labor Code:
Failure to Pay All Wages Owed and Waiting Time Penalties
17. Plaintiff incorporates herein, as though fully set forth at length, each and every
. “allegation set forth in paragraphs 1 through 16 of this Complaint as if fully set forth herein.

, . 18. Defendant has failed to pay Plaintiff all of his compensation owed based on hours
worked during his employment, including overtime hours and on call hours. Defendant knew
‘that the compensation was owed, and refused and continues to refuse to compensate Plaintiff
. accurately for services rendered to Defendant.

19. In addition to the money owed for services rendered, Plaintiff is entitled to

. ‘recover from Defendant, pursuant to the California Labor Code section 201 and 203, an

" additional amount as a waiting-time penalty. In addition, Plaintiff is entitled to recover an award

for reasonable attorneys’ fees to be paid by the Defendant, and the costs of the action.

WHEREFORE, Plaintiff prays judgment against Defendant as hereinafter set forth.

FOURTH CAUSE OF ACTION
Breach of Labor Code: Failure to Provide Accurate Information on Wage Statements
20. Plaintiff incorporates by reference, as if fully set forth herein, the provisions of
“paragraphs | through 19 of this Complaint.
21. Pursuant to California Labor Code §226, California employers are required to

provide every employee with an accurate wage statement that sets forth the employee's gross

 

 

 

 

 

Plaintiff's Complaint for Damages

 

 
20

21

22

23

24

25

26

27

28

29

 

Case 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 9 of 50

wages, total hours worked, all deductions taken, net wages earned, amongst other things.
Plaintiff did not receive accurate information on her paycheck stubs for many reasons, including
the fact that they failed to accurately show his actual hours worked.

22. Plaintiff is entitled to a penalty of: (1) $50 for the initial pay period in which a
violation occurs and $100 per employee per pay period for each additional violation up to $4,000
plus an award of reasonable attorney’s fees and costs. |

WHEREFORE, Plaintiff prays judgment against Defendant as hereinafter set forth.

FIFTH CAUSE OF ACTION

 

Defamation
23. Plaintiff hereby incorporates by reference Paragraphs | through 22 of this
Complaint as if fully set forth herein.
24. Plaintiff is informed, believes, and on that basis, alleges that in or about the June

2016, and thereafter, Defendant’s employees falsely and without privilege orally uttered and
published to others that Plaintiff was terminated due to a lack of integrity. This falsehood has
been repeated to others, and Plaintiff has been exposed to contempt, which caused, and has
caused, Plaintiff to be injured in his occupation and reputation.

| 25. Asa direct and proximate result of Defendant’s outrageous and defamatory
conduct, as set forth above, Plaintiff has suffered and will continue to suffer damages, the exact
amount of which has not yet been fully ascertained. Plaintiff is entitled to damages, including,
but not limited to, general damages, loss of profits, benefits, and certain other damages and
incidental and consequential expenses in the amount to be shown at the time of tal..

WHEREFORE, Plaintiff prays judgment against Defendant as follows:

I, For compensatory damages in an amount to be proven at trial.

2. For special damages in an amount to be proven at trial.

3, For general damages in an amount to be proven at trial.

4. For punitive damages in an amount to be proven at trial.

5. For interest on Plaintiff's compensatory damages at the maximum rate allowed by

law,

 

 

Plaintiff's Complaint for Damages

 
19

20

21

22

23

24

28° |

26

27

28

29

 

Case 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 10 of 50

6. For reasonable costs.

7, For jury trial.

8. For attorney’s fees and costs.
9,

Dated: March 14, 2017

For such other and further relief as this Court deems just and proper,

 

Henk LEONARD Lon

A Prbfessional Law,

Corporation
| ff ay —\, . /)
a Mt WA I St wai
“SHERI L, LEONARD
Attorney for Plaintiff
TAYLOR MAGAZINER

 
 

 

 

 

Plaintiff's Complaint for Damages

 
Case 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 11 of 50

EXHIBIT B
10
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

pe EATH LLP

ATTORNEYS AT LAW
Los ANGELES

Case 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 12 of 50

KATE S. GOLD (SBN 156117)
Kate.Gold@dbr.com

DRINKER BIDDLE & REATH LLP
1800 Century Park East

Suite 1500

Los Angeles, CA 90067-1517
Telephone: (310) 203-4000
Facsimile: (310) 229-1285

JAIME D. WALTER (SBN 281066)
Jaime. Walter@dbr.com

DRINKER BIDDLE & REATH LLP

50 Fremont Street, 20th Floor

San Francisco, CA 94105-2235
Telephone: (415) 591-7500
Facsimile: (415) 591-7510

Attorneys for Defendant
BED BATH & BEYOND INC.

SUPERIOR COURT OF THE STATE OF CALIFORNIA

COUNTY OF PLACER

TAYLOR MAGAZINER, Case No. SCV0039281

Plaintiff, NOTICE TO SUPERIOR COURT OF BED

BATH & BEYOND INC.’S:-REMOVAL OF
Vv. CIVIL ACTION TO FEDERAL COURT

BED BATH & BEYOND, INC., and Complaint Filed: March 20, 2017
DOES 1 through 5, inclusive, Trial Date: None Set

Defendants.

 

 

89030979. 1

 

NOTICE TO SUPERIOR COURT OF BED BATH & BEYOND INC.’S REMOVAL OF CIVIL ACTION TO FEDERAL COURT

 
10
11
12
: 13
14
15
16
17
18
19
20
21
22
23
24
25
‘26

27°

28

DRINKER BIDDLE &
REATH LLP
ATTORNEYS AT LAW
Los ANGELES

Pase 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 13 of 50

TO THE CLERK OF THE SUPERIOR COURT OF THE STATE OF CALIFORNIA FOR THE
COUNTY OF PLACER:

Attached hereto as Exhibit “A” is a true and correct copy of Bed Bath & Beyond Inc.’s
Notice of Removal and Removal of Civil Action to Federal Court, the original of which was filed

with the United States District Court for the Eastern District of California on June 29, 2017.

Dated: June V4, 2017 DRINKER BIDDLE & REATH LLP

» Je Wide

Kate 8. Gold
Jaime D.’Walter

Attorneys for Defendant
BED BATH & BEYOND INC.

89030979. 1 -2-

 

"NOTICE TO SUPERIOR COURT OF BED BATH & BEYOND INC.’S REMOVAL OF CIVIL ACTION TO FEDERAL COURT

 
10

tl

12
13
14

15

16

17

18

19

20
21
22
23
24

“95

26

27

28

DRINKER BIDDLE &

REATH LLP

ATTORNEYS AT LAW

SAN FRANCISCO

 

ase 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 14 of 50

PROOF OF SERVICE
I, Nydia C. Avellan, am a citizen of the United States and employed in San Francisco
County, California. I am over the age of eighteen years and not a party to the within-entitled
action. My business address is 50 Fremont Street, 20th Floor, San Francisco, California 94105-

2235. On June 29, 2017, I caused a true and correct copy of the within documents to be served:

e NOTICE TO SUPERIOR COURT OF BED BATH & BEYOND INC.’S
REMOVAL OF CIVIL ACTION TO FEDERAL COURT

By United States mail: by placing the document(s) listed above in a sealed
envelope with postage thereon fully prepaid, the United States mail at San
Francisco, CA addressed as set forth below. I am readily familiar with the firm's
practice of collection and processing correspondence for mailing. Under that
practice it would be deposited with the U.S. Postal Service on that same day with
postage thereon fully prepaid in the ordinary course of business. [ am aware that
on motion of the party served, service is presumed invalid if postal cancellation
date or postage meter date is more than one day after date of deposit for mailing in
affidavit.

ROBERT P. HENK Attorneys for Plaintiff Taylor Magaziner
SHERI L. LEONARD |

HENK. LEONARD

A Professional Law Corporation

2260 Douglas Blvd., Suite 200

Roseville, CA 95661

Tel: (916) 787-4544

Fax: (916) 787-4530

I declare under penalty of perjury under the laws of the State of California that the above

is true and correct. Executed on June 29, 2017, at San Francisco, California.

  
  

 
  

   
    
 

  
 
  
 

  

Lf
or 2 rin he raadk

tip

cy

Nyd

   

      

 

 

ia C. Avellan

 

PROOF OF SERVICE

 
Case 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 15 of 50

EXHIBIT C
Smith vs. Orange Blpasan ines Pe NCS TLR?) Filed 06/29/17. Page 16.0f 50...

12 Trials Digest 3d 66, 1998 WL 866029 (Cal.Superior) (Verdict and Settlement Summary)

Copyright (c) 2015 Thomson Reuters/West
Superior Court, Los Angeles County, California.

Smith vs. Orange Blossom Lines Inc.

TOPIC:
Synopsis: Army officer's career ruined by allegations of misconduct

Case Type: Defamation; Libel; Private Publication; Defamation; Slander; Intentional Torts; Infliction of Emotiona!
Distress

DOCKET NUMBER: YC029244
STATE: California
COUNTY: Los Angeles
Verdict/Judgment Date: September 25, 1998

JUDGE: Jean E. Matusinka

ATTORNEYS:

Plaintiff: Seth M. Goldberg, Bleau, Fox & Goldberg, Los Angeles.; Kurt A. Schlichter, Law Offices of Kurt A. Schlichter,
Manhattan Beach.
Defendant: Jack Daniels, Daniels, Baratta & Fine, Los Angeles.

SUMMARY:
Verdict/Judgment: Plaintiff

Verdict/Judgment Amount: $3,049,912

Range: $2,000,000-$4,999,999

$1,824,512 economic and $924,200 non-economic damages and $250,000 punitive damages (versus Orange Blossom
Lines Inc.).

Trial Type: Jury

Trial Length: 8 days.

Deliberations: 5 hours.

Jury Poll: Mixed poll.

EXPERTS:

Plaintiff: Raymond G. Schultz Ph.D., economist, IBAR Settlement Co. Inc., San Marino, (626) 570-4888.; William V.
Wenger, military consultant, El Segundo.

Defendant: John C. Bahnesen Jr., retired brigadier general, New Cumberland, WV, (304) 387-2199.; John Richard

Haluck, attorney/military consultant, The Diepenbrock Law Firm, Sacramento, (916) 446-4469.; Kip Jones CPA,
economist, Jones, Borghart & Co., Los Angeles, (213) 621-7780.

     
Smith vs. Ore 5 i iais Di
Smith vs. QrangePlessom Sings Ue Ae WSetiment 1-2. Filed 06/29/17.-Page-17-0f 50

TEXT:
CASE INFORMATION

FACTS/CONTENTIONS
. According to Plaintiff: Plaintiff brought suit for libel, libel per se, slander, slander per se and intentional infliction
of-emotional distress. Plaintiff claimed that defendants were responsible for a letter accusing plaintiff of allowing his
_ troops to use marijuana and alcohol and cause damage to a bus that carried the troops to training. As a result of the
. charges plaintiff's career was destroyed. The plaintiff was Russell A. Smith, a 35-year-old United States Army officer.
The defendant was Orange Blossom Lines Inc., a bus company; Dennis Ardecki, the vice president of Orange Blossom
Lines Inc.; and Roland Ramos, a bus driver employed by Orange Blossom Lines.
Plaintiff is an officer in the United States Army. At the time of the defamation he was assigned to the California Army
National Guard as the commander of Company C, 3-160 Infantry. It is the practice of the California Army National
- Guard to use commercial bus companies to transport soldiers to and from training sites throughout California.
Defendant Orange Blossom Lines Inc. was one of those bus companies. Orange Blossom Lines was hired to transport
elements of 3-160 Infantry Battalion to and from Camp Roberts for their training weekend.
On June 21, 1996 Roland Ramos picked up C, 3-160 Infantry for transport to Camp Roberts. The buses traveled
directly from Inglewood to Camp Roberts. Accompanying plaintiff on the bus to Camp Roberts were CPT Jodie’
Marsh, 3-160 Infantry personnel officer; 1LT Edward Hooks, executive officer for Company C, 3-160 Infantry; and
ILT Bradford Cook. Also on the bus were SSG Felipe Gonzales, SSG Timothy Colson and SGT Alphonse Mendoza,
whose full-time jobs were as police officers in the LAPD. Plaintiff slept the entire way to Camp Roberts. Hooks was
awake for the entire trip and used the restroom on the bus at least six times during the trip. The trip took approximately
six hours.
On June 22, 1996 all soldiers of the battalion were administered an unannounced urinalysis test for drug use. None of
_ the members of Company C tested positive for any illegal substances. On June 23, 1996 Company C departed Camp
Roberts at 11:50 a.m. and arrived in Buttonwillow at 1:15 p.m. at the McDonald's for lunch. Plaintiffs first indication
that there might be any trouble was when SSG Felipe Gonzalez informed him that Ramos had locked the bathroom
door and would not give him the key because Ramos thought soldiers were smoking marijuana in the bathroom.
Plaintiff then approached Ramos with Hooks and Gonzalez and said ‘No one is smoking pot on your bus. I have
three LAPD officers on that bus.‘ Ramos responded ‘Is Gonzalez one of the officers?‘ When plaintiff answered “Yes,
Ramos said ‘Oh no. He's one of the ones I wouldn't give the key to.‘ Plaintiff requested that Ramos unlock the door.
When plaintiff boarded the bus again, he noticed that Ramos did not unlock the bathroom door and that he required
soldiers to get the key from him and return it when finished. The bus arrived in Inglewood at 4:30 p.m., was inspected
by Hooks, cleaned by the soldiers and reinspected before it left the Inglewood Armory. Hooks did not find marijuana,
vomit, empty alcohol bottles or anything unusually wrong with the bus. He did find sunflower seeds and ordered the
bus swept clean. Plaintiff then dismissed the entire incident as inconsequential.
On June 28, 1996 defendant Ardecki wrote a defamatory letter accusing plaintiff of allowing his soldiers to smoke
marijuana on the bus with his full knowledge and consent. Essentially, the letter accused plaintiff of no less than four
felony charges under the Uniform Code of Military Justice, specifically; (1) Article 112(b)(1), failing to report drug
use by his soldiers; (2) Article 133, conduct unbecoming an officer; (3) Article 92, violating an order or regulation; and
(4) Article 134, general rule regarding good order and discipline. Each charge could have resulted in a prison sentence
and/or dismissal from the service. Ardecki addressed the letter and sent it to three separate locations, each of which
had no interest in receiving the letter.
The address on the letter heading was to the Department of the Army, Transportation Operations, U.S. Army Finance
- & Accounting Center in Indianapolis, Indiana. This unit or arm of the government had no legal or command authority
over plaintiff or the California Army National Guard units. All that occurred in Indianapolis was the processing of
payments to civilian vendors, among other accounting operations. They could not impose discipline. The letter was
‘oc’ to ‘USPFO of California Helen Starling’ and Inglewood Armory.‘ USPFO (United States Property and Fiscal
Office[r]) controlled the funds used to support the National Guard units in California. Helen Starling was a clerk

 

     
Smith vs. Orage Biossam dines Me HAC Talent 12. Filed 06/29/17...Page 18.0f 50...

at USPFO who coordinated when, where, who and how commercial buses and bus companies were used by the
government. Neither USPFO or Helen Starling had legal or command authority over plaintiff or the California Army
National Guard units. They could not impose discipline. The letter was also sent to ‘Inglewood Armory,’ not to the
commander of 3-160 Infantry. Anybody at the armory could have opened the letter and, in fact, it was opened by
an individual who had no interest in the communications contained therein. The only person who could have had an
~- interest in the communications in the letter was plaintiff's commanding officer.
Two official investigations conducted by the Army concluded that the allegations of misconduct were unsubstantiated,
that the claim for $200 be denied and that the military refrain from doing business with Orange Blossom Lines Inc. In
December 1995 plaintiff had been selected for a promotion to major. Upon publication of the letter plaintiff's personnel
file was ‘flagged‘ (no favorable actions permitted) for almost 11 months while the investigations were conducted. As
a result plaintiff lost several prestigious positions in the military and his promotion was delayed with a resulting loss
in future pension benefits.
Plaintiff alleged that defendants were responsible for the initial publication of the letter which caused plaintiff to be
denied a timely promotion to major; to lose a very prestigious career enhancing position with the Inspector General;
to lose a very prestigious career enhancing position as a congressional fellow because he was not a major; to lose a
career enhancing position as a student at the United States Army Command and General Staff College and a second
pass-over as a congressional fellow; to lose the 11 months’ time in grade; and assuming that his life expectancy was 70
years, the loss of those monies from the time of July 1996. .
Plaintiff also alleged that the letter and the events described therein was a fabrication by defendants. None of the
events occurred. Upon arrival at Camp Roberts, the bus was clean and was clean when it left the Inglewood Armory
at the end of the weekend. The $200 cleaning fee was fraudulently charged to the government because Orange Blossom
Lines Inc. did not reimburse its drivers for any time incurred in cleaning buses that were dirtied by customers. Further,
the qualified privilege did not apply because the letter was sent with malice. Ardecki affected the widest possible
dissemination of the allegations. He did not conduct an investigation into the allegations made by Ramos and did
not interview Ramos or question him in detail. Ardecki did not call or speak to any of the soldiers or officers of
3-160 Infantry, let alone plaintiff, about what allegedly occurred on the bus; and he did not speak to any of his other
bus drivers about what allegedly occurred. Ardecki testified under oath that he expressed doubt as to the veracity of
Ramos when he questioned him on no less than three occasions. The only persons with legal or command authority
over plaintiff were his battalion commander, his brigade commander or the division commander.
Defendants contended that the charges were true and that the incident occurred. However, assuming arguendo that it
_ did not occur, defendants contended that the qualified privilege of C ivil Code section 47(c) applied.

CLAIMED INJURIES
According to Plaintiff: Damage to reputation; emotional distress.

CLAIMED DAMAGES
According to Plaintiff: $4,400 actual lost income due to 11-month delay in promotion from captain to major;
$1,800,000 lost future income and pension/retirement benefits.

SETTLEMENT DISCUSSIONS
According to Plaintiff: Demand: $600,000 increased to $1,500,000 one month before trial. Offer: None. The court-
ordered mediation lasting for four hours with mediator Judge Eric Younger yielded no results.

EXPERT TESTIMONY

According to Plaintiff: Plaintiff's expert Wenger, a military consultant, testified that plaintiffs career was ruined.
Plaintiff's expert Schultz, an economist, testified on plaintiffs lost retirement income. Defense experts Haluck, an

   
Smith vs. Cygne Plpssan Gipss Oe AACS TSSLIAGRE 2) Filed 06/29/17... Page.19.0f 50...

attorney and military expert, and Bahnsen, a military consultant, testified that plaintiff's career was not injured, Defense
expert Jones, an economist, testified on earning capacity. Michael I. Neil, an attorney and military expert for the defense,
did not testify.

COMMENTS

According to Plaintiff: The jury poll was 12 to 0 (11 to 1 on some special questions). Plaintiff's counsel Schlichter reported
that the jurors indicated they did not believe defendants’ testimony. Defendants have filed a motion for new trial and
for JNOV. The hearing was scheduled for November 17, 1998. Carolina Casualty was the insurance carrier. Seth M.
Goldberg was lead trial counsel for plaintiff. Messrs. Goldberg and Schlichter provided the information in this report.

Trials Digest, A Thomson/West business
Los Angeles County Superior Court/Torrance

 

kad of Document %, 2017 Thomson Reuters. No claim to original U.S. Government Works.

     
Case 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 20 of 50

EXHIBIT D
 

 

 

Case 2:17-cv-01339-KJM-AC Documenti-2 Filed 06/29/47

ri

 

   

 

Superior Court of California

| By: ____DESSIE ROGERS
DEPUTY CLERK

County of Sacramento

Case Number: 34-2007-00882286
Department 39

 

- Robert M. Sallustio, Judgment on Special Verdicts
Plaintiff

VS.
- Kemper Independence Insurance

~ Company,
Defendant

 

THIS CAUSE came on regularly for trial on Apri! 1, 2014, through May 9, 2014 in
Department 39, of the above entitled court, the Honorable David W. Abbott, Judge, presiding.
Plaintiff appeared with his attorneys Christopher H. Whelan, Esq. and Lucas C. Whelan, Esq.,
the defendants appeared with their attorneys Mark P. Grajski, Esq. and Lindsay S. Fitch, Esq. of
Seyfarth Shaw LLP.

THEREUPON, a jury of twelve persons was duly accepted, empaneled and sworn to try
said cause. Witnesses on the part of Plaintiff Robert Sallustio and Defendants Kemper
Independence Insurance Company were duly sworn and examined.

After hearing the evidence, the arguments of counsel, and instructions of the court, the
jury retired to consider their verdict, subsequently returned to court, and being called, answered
to their names and rendered their verdict in writing, in words and figures as follows:

We the jury in the above-entitled matter, answer the questions submitted to us as follows:

1. Did any Kemper employee(s) make one or more defamatory statements of fact
about Robert Sallustio to others?

__X__Yes No
Case 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 22 of 50

If your answer to question | is yes, then answer question 2. If your answer to question I is
no, then answer no further questions, and have the presiding juror sign and date this form.

2. Were all the defamatory statement(s) of fact made by Kemper employees about
- Robert Sallustio substantially true?

Yes xX No

If your answer to. question 2 is no, then answer question 3. If you answered yes, then
answer no further questions, and have the presiding juror sign and date this form.

3. Did any Kemper employee who made defamatory statement(s) of fact about
Robert Sallustio fail to use reasonable care to determine the truth or falsity of the defamatory
statement(s) they made?
X___ Yes No

If your answer to question 3 is yes, then answer question 4. If you answered no, then
answer no further questions, and have the presiding juror sign and date this form.

4, Did any Kemper employee make defamatory statements of fact about Robert
Sallustio out of hatred, or ill will, or an intent to injure Robert Sallustio?
__X_ Yes No

If your answer to question 4 is yes, then answer question 5. If you answered no, then
answer no further questions, and have the presiding juror sign and date this form.

5, Place an X next to the name of each employee who you find made defamatory
statements of fact about Robert Sallustio out of hatred, or ill will, or an intent to
injure Robert Sallustio:

Brian Delfino
Christine Doherty
_X___Coy Jacobs

Alan Kikuyama

__X_Scott Tomlinson
Case 2:17-cv-01339-KJM-AC Document1-2 Filed 06/29/17 Page 23 of 50

Stephne (Woodcock) Challender
Answer question 6.

. 6. Were the defamatory statements of fact a substantial factor in causing Robert
_ Sallustio actual harm?

_X_Yes No

If yor answer to question 6 is yes, then answer questions 7, 8 and 9. If you answered no,
then stop here, answer no further questions, and have the presiding juror sign and date this form.
7. What are Robert Sallustio’s economic damages?
Past $ 509,295.00

Future $724, 854.00
8. What are Robert Sallustio’s non-economic damages?

Past $ 500,000.00. _

Future $

9. Has Robert Sallustio proved by clear and convincing evidence that Kemper acted,
with malice, oppression or fraud?

Dated: May 6, 2014 __ Sean Burke
Presiding Juror

After this verdict form has been signed, Please deliver it to the court attendant.
Case 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 24 of 50

Punitive Damages

As against defendant Kemper Independence Insurance Company, what amount of
- punitive damages, if any do you award Robert Sallustio?

____53,000,000.00

: ‘Dated: May 9, 2014 __/S/ Sean Burke___
Presiding Juror/Foreperson.

WHEREFORE, by virtue of the law and by reason of the premises aforesaid, it is ordered,
adjudged and decreed that Plaintiff ROBERT SALLUSTIO have and recover from Defendant
Kemper Independence Insurance Company the sum of ONE MILLION SEVEN HUNDRED

- THIRTY FOUR THOUSAND, ONE HUNDRED FORTY NINE Dollars ($1,734, 149.00) with
interest thereon at the rate of ten percent per annum from the date hereof until paid, together with
said plaintiff’s interest, costs and disbursements incurred in this action, amounting to the sum of

$

“AND, WHEREFORE, by virtue of the law and by reason of the premises aforesaid, it is ordered,
adjudged and decreed that Plaintiff ROBERT SALLUSTIO have and recover from Defendant
Kemper Independence Insurance Company, punitive damages in the amount of THREE
MILLION Dollars ($3,000,000.00) with interest thereon at the rate of ten percent per annum
from the date hereof until paid, together with said plaintiff's interest, costs and disbursements

incurred in this action, amounting to the sum of $

Tne onorable David W. Abbott
&Jeige of the Superior Court of California, County of Sacramento

   

Dated: S5-22-D0/
Case 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 25 of 50

EXHIBIT E
“Sa HR CH Be WH

10
11
12

13

14
15
16
17
18
19
20
21

22 |

23
24
25
26
27
28

(fase 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 26 of 50

     
 

 

FILED
CHRISTOPHER H. WHELAN, INC. Superlor Court Of Callfarnla,
Christopher H. Whelan, Esq. - SB 080823 Sacramento
11246 Gold Express Drive, Suite 100 Dennis Jones, Executive
Gold River, California 95670 Officer
Phone: (916) 635-5577 42/04/2007
Fax: (916) 635-9159 o4i200
awoadwary
Attorneys for Plaintiff, ROBERT M. SALLUSTIO By LEZ Se Beputy
Case Number:
24-2007-00882286-CU-NT-GDS
SUPERIOR COURT OF THE STATE OF CALIFORNIA
COUNTY OF SACRAMENTO
DEPARTMENT BY
ROBERT M. SALLUSTIO, No.
Plaintiff, COMPLAINT FOR:
Vv. (1) Employment Discrimination -
Retaliation (Government Code §12940,
KEMPER INDEPENDENCE et seq.); and
INSURANCE COMPANY, UNITRIN (2) Tortuous Wrongful Termination in
KEMPER AUTO AND HOME Violation of Public Policy

INSURANCE, ALAN KIKUYAMA,
BRIAN DELFINO, SCOTT
TOMLINSON, COY JACOBS and
DOES 1 THROUGH 50, INCLUSIVE,

(3) Defamation
[Damages Exceed $25,000]

JURY TRIAL DEMANDED
Defendants.

Ne a ee ee Ne ee Nee Stee Sane Se nee” Set” Sener! Sener! Sapte Nel”

 

Plaintiff, ROBERT M. SALLUSTIO, hereby alleges against Defendants, and DOES | through

50, inclusive, as follows:
| INTRODUCTION

1. Plaintiff ROBERT M SALLUSTIO [hereinafter “SALLUSTIO” or “Plaintiff”] was
a dedicated and excellent 28 year employee of Defendants KEMPER INDEPENDENCE
INSURANCE COMPANY [hereinafter “Defendant” or “DEFENDANT EMPLOYER” or
“K EMPER”] and UNITRIN KEMPER AUTO AND HOME INSURANCE [hereinafter “Defendant”
or “DEFENDANT EMPLOYER” or “UNITRIN KEMPER”] and their predecessors at their

Folsom, California office in Sacramento County SALLUSTIO had an excellent employment history

l
SALLUSTIO COMPLAINT FOR DAMAGES

 

 
a WN CA fF

10
it
12
13
14
15
16
17
“18
19
20
21
22
23
24
25
26
27
28

 

ase 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 27 of 50

with DEFENDANT EMPLOYERS before he refused to discriminate against and fail to
accommodate a disabled employee. As a result of Plaintiff's complaints about Defendant
Employers’ disability discrimination, failures to accommodate, failures to engage in a good faith
interactive process with disabled employees to determine accommodations, and because of Plaintiff's
refusals to engage in this illegal activity, he was retaliated against by shunning, being subjected to
false and defamatory criticism of his performance as justification for his termination in violation of
public policy.

2. The disabled employee who was being discriminated against and not accommodated
was Nancy Sallustio, a Marketing Specialist and a 18 year employee of DEFENDANT
EMPLOYERS, and the wife of Plaintiff, Robert M. Sallustio. Nancy Sallustio [hereinafter “Mrs.
Sallustio”| was suffering from a stress related disability, and at one point on stress related leave

3. Plaintiff is informed and believes that Defendant ALAN KIKUYAMA [hereinafter
“KIKUYAMA”], the Western Region Marketing VP and Mrs Sallustio’s supervisor, is a resident
of California. Plaintiff is informed and believes that DEFENDANT EMPLOYERS and
KIKUYAMA retaliated against Plaintiff for his opposition to Defendants’ and each of their plan to
not allow Mrs. Sallustio to return to work, to end her employment because of her disability, and to
refuse to either accommodate her, or enter into any good faith interactive process to find
accommodations. KIKUYAMA also defamed Plaintiff as part of Defendants’ and each of their plan,
intent and roles to retaliate against, and terminate Plaintiff.

4, Plaintiff is informed and believes that Defendant COY JACOBS [hereinafter
“JACOBS”], the Technical Manager for DEFENDANT EMPLOYERS, and eventual replacement
for Plaintiff, is a resident of California. JACOBS defamed Plaintiff as part of Defendants’ and each
of their plan, intent and roles to retaliate against, and terminate Plaintiff.

5. Plaintiff is informed and believes that Defendant BRIAN DELFINO [hereinafter
“DELFINO”], a resident of California and Vice President of Claims for DEFENDANT
EMPLOYERS, defamed Plaintiff, as described below, as part of DEFENDANT EMPLOYERS’ and
each of their plan to retaliate against, defame and terminate Plaintiff.

fTf

SALLUSTIO COMPLAINT FOR DAMAGES

 
—

Oo CO NY DN WA FB WY WN?

nN NO nd NO ho a) th bt bho — — _— —_ —_ — — — a —
oC “I nN Ln aa ue N — © Oo oO ~~ ON ww _—s we nN —_ So

ase 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 28 of 50

6. Plaintiff is informed and believes that Defendant SCOTT TOMLINSON [hereinafter
“TOMLINSON ”], a resident of California and Vice President of Human Resources for
DEFENDANT EMPLOYERS defamed Plaintiff, as described below, as part of DEFENDANT
EMPLOYERS’ and each of their plan to retaliate against, defame and terminate Plaintiff.

7. Plaintiff filed complaint(s) with the Department of Fair Employment and Housing
and has received and/or is entitled to the right to sue letter(s) as of the filing and/or service of this
complaint. Plaintiff incorporates herein, each and every allegation within Plaintiff's DFEH
complaint(s), as though fully stated herein.

GENERAL ALLEGATIONS

8, The true names and capacities of the Defendants named herein as DOES 1 through
50, inclusive, whether individual, corporate, associate, or otherwise, are unknown to Plaintiff who
therefore sues such Defendants by fictitious names pursuant to Code of Civil Procedure §474.
Plaintiff is informed and believes that DOE Defendants | through 50 are California residents and/or
partners, parents, subsidiaries, and/or sister corporations to DEFENDANT EMPLOYER, and/or
individuals responsible for the acts complained of herein. Plaintiff will amend this Complaint to
show such true names and capacities when they have been determined Plaintiff alleges all known
and unknown Defendants, and all named Defendants, including corporate and individual Defendants
and their parents, subsidiaries, their successors in interest, partners, and their employees and/or
agents, acted on behalf of, and for the benefit of, at the direction of, and under the control of, and in
conspiracy with, each and every Defendant, known or unknown, and their agents and/or employees,
and each of them, to do the acts complained of herein.

9 Plaintiffis informed and believes and thereon alleges that each of the Defendants sued
herein asa DOE is responsible in some manner and liable herein for negligent, wanton, reckless,
and tortious conduct, strict liability, and by such wrongful conduct complained of herein,
proximately caused the Plaintiff's injuries and damages.

10. Atall times mentioned herein, Plaintiff was and is a resident of California and worked
in DEFENDANT EMPLOYERS’ Folsom, California office in the County of Sacramento, State of

California.

 

 

SALLUSTIO COMPLAINT FOR DAMAGES

 
Do Oo CO NN

a
12
13
14
is

 . 16

17
18
19
20
21
22
23
24
25
26
27
28

 

ase 2:17-Cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 29 of 50

11, Defendants KEMPER INDEPENDENCE INSURANCE COMPANY, and UNITRIN
KEMPER AUTO AND HOME INSURANCE, collectively referred to as “DEFENDANT
EMPLOYERS” and DOES 1 through 20, were corporations, associations, partnerships, joint
ventures, predecessors, successors, or other business entities, organized and existing under the laws
of an unknown state and at all times herein mentioned conducted business in the State of California,
and throughout the County of Sacramento, including their Folsom, California location where
Plaintiff was employed.

12, Defendants DOES 21 through 50, were individuals who were the agents, employees,
members, volunteers, servants, partners, representatives, independent contractors, joint venturers or
other participants of, or with, Defendants KEMPER and UNITRIN KEMPER, and DOES | through
§0 in doing the things hereinafter mentioned, were acting within the course and scope of said agency,
employment, membership or other relationship with said Defendants. Atall times herein mentioned,
Defendants DOES 21 through 50 were employees and/or agents of Defendants KEMPER and
UNITRIN KEMPER and _ held supervisory and managing agent positions with KEMPER and
UNITRIN KEMPER.

13, At all times herein mentioned, Defendants, whether or not specifically :dentified or
designated herein as a DOE, and each of them, were the agents, employees, servants, partners,
independent contractors, joint venturers and participants with all other Defendants, and with each
other, in doing the things hereinafter mentioned, were agents, employees, managing agents, servants,
partners, joint venturers, with the consent and permission of the Defendants, and each of them.

14. Plaintiff names said Defendants herein, and each of them, as DOES because Plaintiff
is in doubt and does not know exactly from which of the said Defendants Plaintiff is entitled to
redress in light of the fact that the injuries and damages to Plaintiff herein alleged were caused by
the combined conduct, speech, illegal acts, negligence of all of the Defendants, their agents,
managing agents, or one or more ofthem For that reason, Plaintiff names all of the said Defendants,
and asks that the Court determine the liability of each and all of the said Defendants in this action
and to what extent and what responsibility falls upon each of said Defendants, and that the Court

{Tf

SALLUSTIO COMPLAINT FOR DAMAGES

 
B&B WwW

Oo CO NY BW a

10
Ll
12
13
14
15
16
17
18
19
20
21

.. 22

23
24
25
26
27
28

 

tase 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 30 of 50

award judgment to Plaintiff as against such or all Defendants, either jointly or separately, as may be
found liable.
FACTUAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

15. On or about June 21, 2006, Nancy Sallustio, PlaintifP s wife and a very qualified 18
year employee of DEFENDANT EMPLOYERS took a stress related disability leave from her
position as a Marketing Specialist. In July 2006, Mrs. Sallustio requested that DEFENDANT
EMPLOYERS accommodate her stress disability by allowimg her to do her job from home, which
was not uncommon for DEFENDANT EMPLOYERS’ employees. In fact, a number of employees
of DEFENDANT EMPLOYERS performed the same or similar marketing duties from their home
offices Christine Doherty from the DEFENDANT EMPLOYERS’ Human Resources department
denied this reasonable accommodation for unspecified reasons Instead DEFENDANT
EMPLOYERS presented Nancy Sallustio with a termination agreement. She refused this attempt to
terminate her and asked that she be allowed to complete her disability leave and return to her
position. Despite her repeated subsequent requests for accommodations, the DEFENDANT
EMPLOYERS made no further attempt to accommodate her, to help her return to the workforce, or
to return her to her position that remained open

16, In July 2006, Mrs Sallustio again asked and was refused an accommodation of
working from home. In August 2006, management offered Mrs, Sallustio a severance package in
an attempt to get rid of her and avoid accommodating her disability. She was advised by upper
management that it would be in her and the DEFENDANT EMPLOYERS’ best interest if she took
the package and not return to work. At no time did the DEFENDANT EMPLOYERS work with
Mrs. Sallustio to return to the workplace or engage in any good faith interactive process to discover
and agree upon an accommodation for her disability.

17. On September 26, 2006, Christine Doherty informed Mrs. Sallustio that her position
was being filled. However, in fact, although that position was posted no one applied for it or
accepted it and the position remained open.

18, In October 2006, Mrs Sallustio’s medical benefits were discontinued without any
medical opinion or documentation to support the decision. Glen Lyons, DEFENDANT

5
SALLUSTIO COMPLAINT FOR DAMAGES

 
“oD oo NOG

10
11
12
13
14
15
16
17
18
19
20
21

22

23
24
25
. 26

28

base 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 31 of 50

EMPLOYERS’ local Human Resources manager, solicited Tricia Lauer to interview for
Mrs Sallustio’s position.

19, In early November 2006, Human Resources offered Mrs. Sallustio’s position to a
claims clerk, Tricia Lauer, who had no experience in marketing. She was interviewed by Glen Lyons
the HR manager, and Linda Corrao, the Marketing manager This attempt to fill Mrs. Sallustio’s
position was contrary to DEFENDANT EMPLOYERS’ policy and practice of offering positions
to the most qualified, If this policy and practice had been followed this position should have been
offered to Mrs. Sallustio. Furthermore, there were a number of positions in claims for which this
clerk, Tricia Lauer, had experience and training, and these were the positions that policy, practice
and logic said should have been offered to Tricia Lauer. Mr. Lyons and Linda Corrao informed
Plaintiff that this position was going to be offered to the inexperienced Ms, Lauer Plaintiff voiced
strong opposition for the above stated reasons. Furthermore, he let them know that he believed these
steps were being taken to keep a disabled person from the workplace. He informed them
DEFENDANT EMPLOYERS had an obligation and prior practice to fill open positions with the best
qualified candidate Tricia Lauer had no marketing experience and she was the only person
interviewed. As the Claims manager Plaintiff was aware of several claims positions that needed to

be filled by someone like Tricia Lauer, who was qualified for a claims position, not a marketing
position.

20 In this conversation Plaintiff let Glen Lyons and Linda Corrao know that he would
be contacting his boss, BRIAN DELFINO, VP of Claims, to authorize a counter offer to Tricia
Lauer, This counter offer was for a position as Assistant Claims Clerical Supervisor, as Lauer was

“being developed to replace Cathy Richmond, the Claims Clerical Supervisor, who planned on
retiring in the near future. Glen Lyons stated he strongly disapproved of this logical placement of
Tricia Lauer, Plaintiff said he would let his supervisor, BRIAN DELFINO, decide how this should
be handled

2t. Lauer was offered Mrs, Sallustio’s position in marketing. Lauer informed Plaintiff
that she really did not want that position. Plaintiffsought and obtained Mr DELFINO’s permission
to offer Lauer a more appropriate position in claims as the Assistant Clerical Supervisor Plaintiff

6
SALLUSTIO COMPLAINT FOR DAMAGES

 

 
me Ww N

0 Oo KN HR Ww

10
1
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

ase 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 32 of 50

informed KIKUYAMA, the Western Region Marketing VP and Mrs. Sallustio’s supervisor, that
DELFINO had approved offering the claims position to Lauer and that she can make the call between
the two offers Plaintiff offered Lauer the Claims Assistant Clerical Supervisor position in claims
and he asked her to consider both positions.

22. On November 6, 2006, Lauer informed Plaintiff that she was rejecting the marketing
position that was Mrs. Sallustio’s and that she accepted the promotion to Claims Assistant Clerical
Supervisor. On November 8, 2006, there was a company wide announcement of Lauer’s
promotion, and on November 13, 2006, Lauer assumed her new duties. No efforts were made to
return Mrs, Sallustio to her still unfilled position despite DEFENDANT EMPLOYERS’ knowledge
of the vacancy, her abilities and experience in that position, the fact that her disability payments had
ended, and her request to return to the position, or be given accommodations so that her return could
be achieved.

23. Plaintiff saw management’s attempts to fill the marketing position as an attempt to
avoid its legal duties to accommodate the disabled and engage in a good faith interactive process to
find accommodations for Mrs. Sallustio, and as a method to end her career by terminating her and/or
causing her to quit.

24, On November 15, 2006, KIKUYAMA called Plaintiff into his office and verbally
attacked him telling Plaintiff he was “still upset and pissed off” about the situation regarding the
open marketing position. Plaintiff saw this unnecessary and unjustified anger and hostility as
retaliation for his attempts to fill the open marketing position with a qualified and experienced, but
disabled employee, instead of a inexperienced employee who really didn’t want the position, Upon
KIKUYAMA’s request Plaintiff agreed to meet with him and Tricia Lauer on November 17, 2006,
to see which position Ms Lauer really wanted

25. Plaintiff spoke with Cathy Richmond, his clerical supervisor, and told her that
KIKUYAMA was again going to offer Mrs. Sallustio’s marketing position to Lauer. Plaintiff said
it was obvious to him that DEFENDANT EMPLOYERS were merely trying to coerce Ms Lauer to
accept the position she had said she did not want to block the position from the disabled
Mrs Sallustio. Plaintiff said it was his belief that these efforts by the DEFENDANT EMPLOYER

7
SALLUSTIO COMPLAINT FOR DAMAGES

 
Sd

Oo Co “SDN

10
ul
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

>

 

 

ase 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 33 of 50

were unethical and may even be an illegal violation of the rights of disabled employees.

26 On November 16, 2006, Mrs Sallustio contacted Chmistine Doherty in Human
Resources and inquired about the possibility of returning to work on November 20, 2006, since she
was no longer receiving any disability payments and needed to return to work Doherty again
informed Mrs. Sallustio that it would not be in her best interests or those of the DEFENDANT
EMPLOYERS for her to return to work. Mrs. Sallustio was misinformed that her position had
already been offered to another employee and that 1t was no longer available. Doherty told Mrs.
Sallustio that she would check with “the powers to be” including KIKUYAMA and Dorothy
Langley, corporate counsel, about her request

27, On November 17, 2006, Plaintiffasked KIKUYAMA if they would be meeting with
Lauer that day as planned to discuss the marketing position etc. KIKUYAMA merely said “no”
without any further explanation. Jay Beasy, the Asst VP of Underwriting was also present, but
offered no explanation for this change of plans.

28, On November 20, 2006, Plaintiff had a conversation with JACOBS, his tech manager
about how the DEFENDANT EMPLOYERS and KIKUYAMA were mishandling Mrs Sallustio’s
return to work. Plaintiff disclosed KIKUYAMA was planning to offer Mrs Sallustio’s position to
Lauer again, despite the fact that Mrs. Sallustio was trying to return to it. Plaintiff told JACOBS
it was apparent to him that the company was just trying to get Lauer to accept the marketing position
so that the disabled Mrs Sallustio couldn’t get her job back. JACOBS responded, “I think you hit
the nail right on the head.” Plaintiff also told JACOBS how upsetting this conduct was because
Plaintiff believed it to be unethical and possibly illegal.

29 On November 22, 2006, KIKUYAMA met with Lauer, without Plaintiffas originally
planned, and again offered her Mrs Sallustio’s marketing position Lauer came into Plaintiff's
office and told him that is was very troubling and confusing for DEFENDANT EMPLOYERS and
KIKUYAMA to re-offer her Mrs. Sallustio’s position, after Lauer had already rejected it and
accepted the promotion in claims. Lauer said she wanted to remain in claims. Plaintiff told Lauer
to think it all over and do what she thought was best for her Lauer then sent emails to Plaintiff and
KIKUYAMA in which she notified them she was declining to take Mrs. Sallustio’s marketing

8
SALLUSTIO COMPLAINT FOR DAMAGES

 
Oo 0 we ON

10
7
12
13
14
15
16
17
18
19
20
21

22

23

24

25

26

27
28

ase 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 34 of 50

position,

30 DEFENDANT EMPLOYERS and KIKUYAMA then set out to retaliate against
Plaintiff for his insistence that the law be followed in DEFENDANT EMPLOYERS’ dealing with
the disabled Mrs, Sallustio, including providing her reasonable accommodations, good faith
interactive process, not blocking her return to work by filling her position with someone who did not
want the position and who was less qualified and experienced.

31 On November 28, 2006, termination papers were prepared for Plaintiff's termination
in retaliation for his opposition to disability discrimination, and the DEFENDANT EMPLOYERS’
failure to accommodate disabled employees, or to engage in a good faith interactive process

32. On December 4, 2006, Plaintiff was terminated based upon false defamatory and
pretexual reasons These false attacks directly injured Plaintiffin respect to his profession, trade and
business of being a manager in a major insurance company responsible for the management and
supervision of numerous employees These attacks expressly and impliedly imputed to him general
disqualification in respect to those abilities, skills and performance his profession and position
required. Plaintiff was expressly and impliedly accused of incompetence, failure and inability to
perform his duties as a result of the publication of false statements such as, his immediate
termination was necessary because of his failure of leadership, leadership style, and his not being
available to his staff These statements were published by DELFINO, VP of claims, and Scott
TOMLINSON, VP of HR to Plaintiff, and to each other, in this December 4, 2006, termination
meeting Although Plaintiff asked for a detailed explanation and specific examples and the basis
for these false accusations used to justify his termination, these managers refused to provide any.
Plaintiff was given a termination agreement to sign, which he refused to sign, a termination checklist,
and his final paycheck Plaintiff was not allowed back into the office to retrieve his personal
belongings, but was told they would be mailed back to him.

33 On December 5, 2006, Mrs. Sallustio obtained a release from her doctor to return to
work. She returned to the office to resume performing the duties of her position, At the time Glen
Lyons, DEFENDANT EMPLOYERS’ local Human Resources Manager, advised her that even
though her position had never been filled, DEFENDANT EMPLOYERS had eliminated the position

9

 

SALLUSTIO COMPLAINT FOR DAMAGES

 

 
“SI DN A S&S WY NH

oo

10
MW
12
13
14
15
16
17
18
19
20
21

| 22

23
- 24
25
26
27
28

t ase 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 35 of 50

entirely and converted it to a new position and that the “new position” had been filled Mrs.

 

 

Sallustio questioned why she had not been told that her position had been eliminated, or converted
into a new position, or filled, but Glen Lyons refused to provide any explanation.
FIRST CAUSE OF ACTION
EMPLOYMENT DISCRIMINATION - RETALIATION
(GOVERNMENT CODE §12940, ET SEQ.)
Against Kemper Independence Insurance Company, Unitrin Kemper Auto and Home
Insurance, Alan Kikuyama and DOES 1 through 50

34 Plaintiff restates and incorporates by reference each and every allegation contained |
in the complaint and incorporates them by reference into this cause of action as though fully set forth
herein

35. DEFENDANT EMPLOYERS, KEMPER INDEPENDENCE INSURANCE

COMPANY, UNITRIN KEMPER AUTO AND HOME INSURANCE, ALAN KIKUYAMA and
DOES | through 50, and/or their agents/employees, are entities or individuals subject to suit under
the California Fair Employment and Housing Act, Government Code §12940, et seq.

36 During his employment with DEFENDANT EMPLOYERS, Plaintiff opposed and

 

objected to KEMPER’s, KEMPER UNITRIN’s and KIKUYAMA’s unlawful discrimination, plan
to terminate, failure to accommodate, and failure to enter into a timely, good faith interactive
process with a disabled employee to determine effective reasonable accommodations with an
employee with a known disability.

37. After Plaintiff voiced his complaints, objections, opposition and refusal to violate
the law by participating in, authorizing or ratifying illegal practices described above in violation of
Government. Code §12940, et seq. he was subjected to retaliation, harassment and adverse
employment actions as described above, including but not limited to: angry attacks, exclusion from
key management meetings, denial of Plaintiffs management duties and responsibilities, denial of
DEFENDANT EMPLOYERS’ protections, policies and practices, including but not limited to
progressive discipline, and counseling, and subjecting Plaintiff to false, pretextual and defamatory
criticism misused as a means of retaliation, and to justify Plaintiff's tortious wrongful termination

10
SALLUSTIO COMPLAINT FOR DAMAGES

 

 
aI Di

oO

10
Il
12
13
14
15
16
17
18
19

20

21
22
23
24
25
26
27
28

 

 

ase 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 36 of 50

in violation of public policy

38. The foregoing described adverse employment actions, and acts of retaliation taken
in part or in whole because of Plaintiff's objections and opposition and resistance to DEFENDANT
EMPLOYERS’ discrimination against disabled employees, their refusal of accommodations, and
to engage in a timely, good faith interactive process with a disabled employee to determine effective
reasonable accommodations.

39 In engaging in the aforementioned conduct, Defendants, and each of them, aided,

abetted, incited, compelled, and/or coerced unlawful employment practices in violation of the

announced policy of this State against such practices

40. The foregoing conduct engaged in by KEMPER, KEMPER UNITRIN and
KIKUYAMA and DOES | through 50, and each of their directors, officers and/or managing agents,
constitutes malice, fraud and oppression and was carried on with a conscious and willful disregard
of Plaintiff's right to work in an environment free of unlawful retaliation and acts in violation of
Government Code §12940, et seq, so as to entitle Plaintiff to punitive damages to punish
Defendants, and each of them, and set an example of said Defendants, All actions of DEFENDANT
EMPLOYERS, their agents and employees, as herein alleged, were authorized, ratified and
approved by the officers or managing agents of DEFENDANT EMPLOYERS Therefore, Plaintiff
is entitled to punitive or exemplary damages against the DEFENDANT EMPLOYERS, 1n an amount
to be determined at the time of trial.

4], As a direct and proximate result of the aforementioned acts and omissions of

Defendants, Plaintiff.

a. Has suffered economic damages, including but not limited to a substantial reduction
in past and current income, individual medical and other benefits, and future
earnings, and income potential, and will continue to so suffer in the future, in an
amount to be proved at trial, and

b. Has suffered general damages, in an amount to be proved at trial.

ffl
//]

11
SALLUSTIO COMPLAINT FOR DAMAGES

 
SN DBD Nn f

Co

10
Mt
12
13
14
15
16
17

18
19
20
21
22
23
24
25
26
27
28

pase 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 37 of 50

42. As a proximate result of the foregoing conduct, which violated the provisions of
Government Code §12940, et seq., Plaintiff has been forced to and will incur attorney’s fees and
costs in the prosecution of this claim, in an amount to be proved at trial and/or after trial motions

43. WHEREFORE, Plaintiff requests relief as hereinafter provided

SECOND CAUSE OF ACTION
TORTUOUS WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY

Against Kemper Independence Insurance Company, Unitrin Kemper Auto and Home
Insurance and DOES 1 through 50

44, As asecond, separate, distinct and alternative cause of action, Plaintiff alternatively
complains against DEFENDANT EMPLOYERS and DOES | through 50, inclusive, and realleges
all the allegations contained in the complaint, and incorporates them by reference into this cause of
action as though fully set forth herein

45 Plaintiff was hired by DEFENDANT EMPLOYERS on November 6, 1978.

46, When Plaintiff was initially hired by DEFENDANT EMPLOYERS, he undertook and
continued employment, and duly performed all of the conditions of the above said employment to
be performed by Plaintiff until prevented by DEFENDANT EMPLOYERS through their tortuous
wrongful termination of Plaintiff.on December 4, 2006, in violation of the public policies stated
above and expressed in Government. Code §12940, et seq. DEFENDANT EMPLOYERS’ illegal
discriminatory conduct, described above, and the unlawful tortious termination of Plaintiff for his
opposition to unlawful acts, set out above, were in violation of the public policy expressed in
Government, Code §12940, et seq including, but not limited to m Government _ Code §12940, et
seq 12940 (g) and (h).

47. On or about December 4, 2006, DEFENDANT EMPLOYERS and DOES | through
50, inclusive, breached the total employment agreement by tortuously and wrongfully terminating
Plaintiff for the illegal and retaliatory reasons described herein, which were in violation of public
policy expressed in Government Code §§ 12900 et seq.

48, As a direct and proximate result of the DEFENDANT EMPLOYERS’ tortuous
wrongful termination of Plaintiff, he has suffered, and continues to suffer, substantial losses in

12
SALLUSTIO COMPLAINT FOR DAMAGES

 

 
& Ww Ww

\O oo ~ , ON a

10
ll

2
13

14

15

16

17
18
19
20
21
22
23
24
25
26
27
28

base 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 38 of 50

earnings, bonuses, etc., which Plaintiff had a mght to and would have received had DEFENDANT
EMPLOYERS not breached the agreement. Plaintiffseeks damages for these injuries which exceed
the jurisdictional limits of this court and will be established according to proof at trial

49. As a proximate result of this wrongful termination in violation of public policy,
Plaintiff was caused to suffer, and continues to suffer, from humiliation, anxiety, severe emotional
distress, worry, fear, personal bodily injury and damage and special damages (to include lost
earnings), all to his special and general damage according to proof at the time of trial.

30. DEFENDANT EMPLOYERS did the things herein above alleged, intentionally,
oppressively, and maliciously with an evil and malevolent motive to myure Plaintiff. These acts,
which resulted in Plaintiffs wrongful termination against public policy, were obnoxious, despicable,
and ought not to be suffered by any member of the community

51, All actions of DEFENDANT EMPLOYERS as herein alleged, were authorized,
ratified and approved by the officers or managing agents of DEFENDANT EMPLOYERS
Therefore, Plaintiff is entitled to punitive or exemplary damages against the DEFENDANT
EMPLOYERS, in an amount to be determined at the time of trial.

52. WHEREFORE, Plaintiff requests relief as hereinafter provided.

THIRD CAUSE OF ACTION
DEFAMATION

Against All Defendants

53. As a third, separate, and distinct cause of action, Plaintiff complains against all
Defendants, and realleges all the allegations contained in the complaint, and incorporates them by
reference into this cause of action as though fully set forth herein.

$4. Plaintiffis informed and believes Defendants, ALAN KIKUYAMA, COY JACOBS,
BRIAN DELFINO, SCOTT TOMLINSON, DEFENDANT EMPLOYERS and DOES 1 through 50,
and each of them, by the herein-described acts, conspired to, and in fact, did negligently, recklessly,
and intentionally cause excesstve and unsolicited internal and external publications of defamation,
of and concerning Plaintiff, to third persons and to the community. These false and defamatory

13
SALLUSTIO COMPLAINT FOR DAMAGES

 

 
| hase 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 39 of 50

Be Ww nN

HA

oO

10
11
12
13
14
15
16

17:

18
19
20
21
22
23
24
| 25
26
27
28

 

statements included express and implied accusations that Plaintiff violated company policies, was
a poor performer, was incompetent, an unskilled manager, failed to perform his duties, failed and
was incompetent in his leadership and leadership style, failed to be available to his staff, was
working only 15-20 hours per week for years, would be hung over from drinking and therefore come
to work late or not at all some days, all to the extreme level that Plaintiff's immediate termination
was required and necessary

55 While the precise dates of these publications are not known to Plaintiff, he heard
these express and implied publications published by DEFENDANT EMPLOYERS" agents and
employees including DELFINO and TOMLINSON in the December 4, 2006, meeting in which he
was terminated, and at other unknown times by KIKUYAMA, and JACOBS and Jay Beasy, the
Assistant Vice President of Underwriting, and other agents and employees of DEFENDANT
EMPLOYERS unknown at this time. These defamatory publications were used as justification to
terminate Plaintiff in retaliation for his opposition to, and refusal to acquiesce to and ratify the illegal
acts against disabled employees described herein, and for JACOBS his publications were also used
as a means to cause and/or justify the termination of Plaintiff and thereby assist JACOBS in taking
over Plamtiff’s position. All these publications were outrageous, negligent, reckless, intentional, and
maliciously published and republished by Defendants, and each of them Plaintiffis informed and
believes that the negligent, reckless, and intentional publications by Defendants, and each of them,
were and continue to be, foreseeably published and republished by Defendants, their agents and
employees, and other recipients, in the community. Plaintiff hereby seeks damages for these
publications and all foreseeable republications discovered up to the time of trial, including those
republications Plaintiff himself was forseeably forced and compelled to publish.

56. During the above-described time-frame, Defendants, and each of them, conspired to,
and in fact, did negligently, recklessly, and intentionally cause excessive and unsolicited publication
of this defamation, of and concerning Plaintiff, to third persons, who had no need or desire to know.
Those third person(s) to whom these Defendants published this defamation are believed to include,
but are not limited to, other agents and employees of Defendants, and each of them, and the
ff]

14
SALLUSTIO COMPLAINT FOR DAMAGES

 
ph

~~ ON

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

ase 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 40 of 50

community, all of whom are known to Defendants, and each of them, but unknown at this time to
Plaintiff,

57 The defamatory publications consisted of oral and written, knowingly false and
unprivileged communications, tending directly to injure Plaintiff and Plaintiffs personal, business,
and professional reputation These publications included the above described false and defamatory
statements (in violation of Civil Code §§ 45 and 46(3)(5)) with the meaning and/or substance that
Plaintiff violated company policies, that he was such a poor performer, was incompetent in
performing his duties, was incompetent in his leadership, leadership style, and failed to be available
to his staff, had a drinking problem that interfered with his job performance, all to the extreme level
that his immediate termination was required and necessary These defamatory statements, and each
of them, expressly and impliedly asserted that Plaintiff was incompetent, unfit for his position, a
poor employee, failed to attend to his duties, worked only 15 to 20 hours per week for 3 years, and .
missed work asa result of being hung over from abusing alcohol, and that his immediate termination
was justified for all these reasons.

58 Plaintiff is informed, believes and fears that these false and defamatory per se
statements will continue to be published by Defendants, and each of them, and will be foreseeably
republished by their recipients, all to the ongomg harm and injury to Plaintiffs business,
professional, and personal reputations. Plamtiff also seeks redress in this action for all foreseeable
republications, including his own compelled self-publication of these defamatory statements

$9. The defamatory meaning of all of the above-described false and defamatory
statements and their reference to Plaintiff, were understood by these above-referenced third person
recipients and other members of the community who are known to Defendants, and each of them,
but unknown to Plaintiff at this time

60. None of Defendants’ defamatory publications against Plaintiff referenced above are
true.

61. The above defamatory statements were understood as assertions of fact, and not as
opinion. Plaintiff 1s informed and believes this defamation will continue to be negligently, recklessly,
and intentionally published and foreseeably republished by Defendants, and each of them, and

15
SALLUSTIO COMPLAINT FOR DAMAGES

 

 
Be Ww hd

Go CO CO ON ON

Il
12
13
14
15
16
17
18
19
20
2]
22
23
24
25
26
27
28

 

ase 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 41 of 50

foresceably republished by recipients of Defendants’ publications, thereby causing additional injury
and damages for which Plaintiff seeks redress by this action.

62. Each of these false defamatory per se publications (as set forth above) were
negligently, recklessly, and intentionally published 1n a manner equaling malice. These publications
abused any alleged conditional privilege (which Plaintiff denies existed) All of the publications
were made with hatred, ill will, and an intent to vex, harass, annoy, and injure Plaintiff These
publications were made in order to retaliate against Plaintiff for his opposition against acts that
violated public policy expressed in Government Code §§ 12900 et seq. as described above and were
used to justify Defendants’ illegal, cruel and unjustified termination of Plaintiff These false and
defamatory statements were made to cause further damage to Plaintiffs professional and personal
reputation, to cause him to be fired, to falsely justify his firing, to cause him to be shunned by his
associates, subordinates, and other members of the community. These publications were the result
of prior ill will, rivalry, and disputes regarding the DEFENDANT EMPLOYERS’ failure to comply
with the law regarding the proper and legal treatment of disabled employees, and were used to
justify the improper and illegal termination of Plaintiff for reasons that violated the public policy of
this state

63. Each of these publications by Defendants, and each of them, were made with
knowledge that no investigation supported the unsubstantiated and obviously false statements. The
Defendants, published these statements knowing them to be false, unsubstantiated by any reasonable
investigation, and as the result of information from knowingly hostile witnesses. These acts of
publication were known by Defendants, and each of them, to be negligent to such a degree as to be
reckless In fact, not only did Defendants, and each of them, have no reasonable basis to believe
these statements, but they also had no belief in the truth of these statements, and in fact knew the
statements to be false. Defendants, and each of them, excessively, negligently, and recklessly
published these statements to individuals with no need to know, and who made no inquiry, and who
had a mere general or idle curiosity of this information

64. The above complained-of publications by Defendants, and each of them, were made
with hatred and ill will towards Plaintiff and the design and intent to injure Plaintiff, Plaintiff's good |

16
SALLUSTIO COMPLAINT FOR DAMAGES

 
a

oS Oo . ~~ a wa

1
12
13
14
15

16
17
18
19
20
21
22
23
24
25

26

27

28

TN

hase 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 42 of 50

name, his reputation, employment and employability. Defendants, and each of them, published these

statements, not with an intent to protect any interest intended to be protected by any privilege, but

 

with negligence, recklessness and/or an intent to injure Plaintiff and destroy his reputation,
Therefore, no privilege existed to protect any of the Defendants from liability for any of these
aforementioned publications or republications.

65 As a proximate result of the publication and republication of these defamatory
statements by Defendants, and each of them, Plaintiff has suffered inyury to his personal, business
and professional reputation including suffering embarrassment, humiliation, severe emotional
distress, shunning, anguish, fear, loss of employment, and employability, and significant economic
loss in the form of lost wages and future earnimgs, all to Plaintiff's economic, emotional, and general
damage in an amount according to proof.

66 DEFENDANT EMPLOYERS, KIKUYAMA, JACOBS, DELFINO and
TOMLINSON and DEFENDANT EMPLOYERS, DOES 1 through 50, and each of them, by and
through their managing agents and officers committed, authorized, and ratified the acts alleged
herein recklessly, maliciously, fraudulently, and oppressively, with the wrongful intention of injuring
Plaintiff, for an improper and evil motive amounting to malice (as described above), and which
abused and/or prevented the existence of any conditional privilege, which in fact did not exist, and
with a reckless and conscious disregard of Plaintiff's rights. All actions of Defendants, and each of
them, their agents, employees, managing agents and officers as herein alleged were known,
authorized, ratified and approved by the DEFENDANT EMPLOYERS, KIKUYAMA, JACOBS,
DELFINO, TOMLINSON, and DOES 1 through 50, and each of them Plaintiff thus is entitled to
recover punitive and exemplary damages from Defendants, and each of them, for these wanton,
obnoxious, and despicable acts in an amount based on the wealth and ability to pay according to

proof at time of trial.

67 WHEREFORE, Plaintiff requests relief as hereinafter provided.
f/f
Htf
if]
17

 

SALLUSTIO COMPLAINT FOR DAMAGES

 

 
10

11
1p
13
14
15

16
7
18
19
20
21
22
23
24
25
26
27
28

 

 

ase 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 43 of 50

PRAYER
WHEREFORE, Plaintiff prays judgment against the Defendants, and each of them, as follows:

1, For pain, suffering, personal injury according to proof;

2, For general and special damages according to proof;

3. For loss of earnings and earning capacity, according to proof,

4, For pre-judgment interest to the extent allowed by law,

5, For costs of suit incurred herein,

6. For punitive and/or exemplary damages in an amount to punish Defendants,

7. For attorney’s fees in prosecuting this action, and in obtaining fees in after trial

motions; and

8. For such other and further relief as the Court deems just and proper

DEMAND FOR JURY TRIAL

Plaintiff hereby demands trial by jury on all issues so triable in the Complaint

Dated November 29, 2007 a H. WHELAN, INC.
Lp

€hristopher W Whelan
Attorneys for Plaintiff, ROBERT M. SALLUSTIO

18
SALLUSTIO COMPLAINT FOR DAMAGES

 
Case 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 44 of 50

EXHIBIT F -
Case 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 45 of 50

A Professional Law Corporation

 

Robert P. Henk
Sheri L. Leonard

 

December 5, 2016

Paul DePrima é V4 ; J
Director, Corporate Human Resources \) XN ’ AU
Bed Bath & Beyond Inc. A

550 Liberty Ave. S

Union, New Jersey 07083
Re: Taylor Magaziner v. Bed Bath & Beyond, Inc.
Dear Mr. DePrima:

This office represents Mr. Magaziner in the claims he brings related to his employment with Bed
Bath & Beyond. Based on the facts related to us by our client as stated below, as well as our
independent evaluation of the matter, we believe that he has a valid claim for violation of several
of California’s wage and hour laws, as well as a defamation claim.

Wage and Hour Claims

Taylor Magaziner began his employment on or about June 24, 2011 as a District Area Loss
Prevention Manager. Mr, Magaziner’s job required that he conduct both internal and external
investigations, conduct training, and assist customers with help on the sales floor. At all times
during his employment, Mr. Magaziner performed his job duties in a highly satisfactory manner.
At all times during his employment, Mr. Magaziner was wrongfully classified as exempt from
overtime.

Upon his hire, Mr. Magaziner was required to work a minimum of 10 hours a day in one of
sixteen stores to which he had been assigned, as well as spend additional hours traveling amongst
those stores. During his employment, Mr. Magaziner’s job duties increased to include
responsibility for twenty-two stores. Mr. Magaziner was expected to work, especially during the
fourth quarter, between 11:00 a.m. and 4:00 p.m. [5 hours] on the sales floor assisting customers
with sales.

Mr. Magaziner spent the majority of his time when not on the shop floor reviewing transaction
logs, which he would compare to video recordings. He would interview individuals regarding
potential fraud/theft, and would submit his investigation information to his supervisor and, if
appropriate, human resources.

 

2260 Douglas Boulevard, Suite 200, Roseville, CA 95661 Phone: 916.787.4544 Facsimile: 916.787.4530 HenkLeonard@aol.com
Case 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 46 of 50

California’s Wage Order 7, which applied to Mr. Magaziner’s job, states as follows: “Such
employees shall not be employed more than eight (8) hours in any workday or more than 40
hours in any workweek unless the employee receives one and one-half (11/2) times such
employee’s regular rate of pay for all hours worked over 40 hours in the workweek.
Employment beyond eight (8) hours in any workday or more than six (6) days in any workweek
is permissible provided the employee is compensated for such overtime at not less than: (a) One
and one-half (11/2) times the employee’s regular rate of pay for all hours worked in excess of

-eight (8) hours up to and including 12 hours in any workday, and for the first eight (8) hours

worked on the seventh (7th) consecutive day of work in a workweek...”

.The only exceptions to the aforementioned wage order requirements are for those who are
“employed in administrative, executive, or professional capacities.” Thus, the person must work

over fifty percent of the time engaged in work which is primarily intellectual, managerial, or
creative, and which requires exercise of discretion and independent judgment, as well as earn
two times the minimum wage. Mr. Magaziner’s job does not meet this exemption under
California law. Mr. Magaziner estimates that he owed approximately $70,000 in overtime pay.

Inaccurate Paycheck Stubs

Pursuant to California Labor Code $226, California employers are required to provide every
employee with an accurate wage statement that sets forth the employee's gross wages, total hours
worked, all deductions taken, and net wages earned, amongst other things. Mr. Magaziner’s
paychecks were obviously inaccurate, at a minimum, due to the fact that his overtime wages and
hours worked were not accurately represented.

Per the aforementioned code section, “An employee suffering injury as a result of a knowing and
intentional failure by an employer to comply with subdivision (a) is entitled to recover the
greater of all actual damages or fifty dollars ($50) for the initial pay period in which a violation
occurs and one hundred dollars ($100) per employee for each violation in a subsequent pay

period, not to exceed an aggregate penalty of four thousand dollars ( $4,000), and is entitled to an

award of costs and reasonable attorney's fees.” Mr. Magaziner is owed the-full penalty of

$4,000.

‘Waiting Time Penalties

Mr. Magaziner is also owed an additional amount as he was not paid his overtime wages in full
at the ending of his employment. Labor Code section 201 (a) states the following: “If an

. employer discharges an employee, the wages earned and unpaid at the time of discharge are due

and payable immediately.” Labor Code section 203(a) states, “If an employer willfully fails to
pay, without abatement or reduction...any wages of an employee who is discharged or who
quits, the wages of the employee shall continue as a penalty from the due date thereof at the

-same rate until paid or until an action therefor is commenced; but the wages shall not continue
for more than 30 days.”

Section 203 is designed to compel the prompt payment of earned wages. Barnhill y. Robert
Saunders & Co. (1981) 125 Cal.App.3d 1,7. “The reasons for [Section 203’s] penalty provision
Case 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 47 of 50

are clear. Public policy has long favored the full and prompt payment of wages due an
employee. Wages are not ordinary debts... Because of the economic position of the average
worker and, in particular, his dependence on wages for the necessities of life for himself and his
family, it is essential to the public welfare that he receive his pay promptly.” Mamika v. Barca
(1998) 68 Cal. App.4th 487, 491-492. It is essential to the public welfare that workers receive
their pay when it is due. Jn re Trombley (1948) 31 Cal.2d 801, 809. “Delay of payment or loss
of wages results in deprivation of the necessities of life, suffering inability to meet just
obligations to others and, in many cases make the wage-earner a charge upon the public.” Kerr's
Catering Service v. Department of Industrial Relations (1962) 57 Cal.2d 319.

It is not necessary to show an “evil purpose” to show “willfulness” under Section 203, but the
law is unilaterally clear that the term “willful” simply means that the employer intentionally
failed to perform an act’ which was required to be done. Ghory v. Al-Lahham (1989) 209
Cal.App.3d 1487, 1492. The term willful as used in Section 203 “...amounis to nothing more
than this: That the person knows what he is doing, intends to do what he is doing, and is a free
agent.” Davis v. Morris (1940) 37 Cal.App.2d 269, 274.

Mr. Magaziner is owed his regular daily wage rate for thirty days for a violation. Therefore, he
is owed $ 6,923 in waiting time penalties.

Defamation
On or about June 30, 2016, Mr. Magaziner was informed that he was being terminated.

At his termination, Mr. Magaziner was given a document entitled “Associate Disciplinary
Notice” that purports to give the reason for his termination. This notice listed several acts of
“improper conduct”. These acts included:

e In May 2016, an employee made a complaint against Mr. Magaziner for actions taken
during an investigation. Regarding the aforementioned complaint by the associate
against him, the Associate complained that she was not allowed to reach out to her
Store Manager during the interview. Also, that when the missing item was found that
Mr. Magaziner had not notified his supervisor. In addition, that Mr. Magaziner had
“failed to be forthright in his information” to nis supervisor regarding the store
manager and assistant store manager’s account when they reviewed the videotape.

e Mr. Magaziner had inappropriately told Krysten Brinsfield, Assistant Store Manager,
to not say anything about their personal relationship.

e Mr. Magaziner had used bad judgment by conducting a records check at the
Sacramento Police Department on a Bed Bath & Beyond associate.

Because the aforementioned outline of facts was highly inaccurate and defamatory, Mr.
Magaziner contested his termination. After Bed Bath & Beyond was forced to see the blatant
errors regarding the written claims it had made, it agreed to remove the allegations regarding Ms.
Brinsfield and his conducting a records check at the Sacramento Police Department. Both Ms.
Brinsfield and Mr. Magaziner's supervisor at the Police Department gave and/or were willing to
Case 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 48 of 50

give statements showing that not only was the information put onto Mr. Magaziner’s disciplinary
form untrue but that no investigation into these claims had ever been made.

Based on Bed Bath & Beyond’s placement of several inaccuracies in its “Associate Disciplinary
Notice” it created a new one, The new one removed as the reason for Mr. Magaziner’s
termination that it was based on “improper conduct” and instead outlined that it determined that

~ Mr. Magaziner had told his supervisor that the store manager and assistant store manager agreed

with his determination that the video footage against the employee was clear, when in fact it was
later determined that they did not agree with Mr. Magaziner’s determination.' As well as, that
Mr. Magaziner had not informed his supervisor when the “stolen” item was found in the store.
Mr. Magaziner has always agreed that he had not informed his supervisor about the missing item
being found, but that it was a timing issue.

Bed Bath & Beyond determined and stated in writing that Mr. Magaziner had “.. failed to
demonstrate the level of integrity expected...by misrepresenting the facts surrounding this case.
In addition he exercised poor judgment in proceeding to interview the Associate without clearly
advising his Supervisor that there was a difference in opinion as to what could be seen on the
video footage.” Although Mr. Magaziner had never received any discipline in his tenure, the
termination notice stated that he had been “spoken to” regarding his approach once in 2013 and
once in 2015.

Mr. Magaziner is not contesting his termination via this letter. But, Bed Bath & Beyond has
- gone out of its way to not just terminate Mr. Magaziner, but to state in writing that he “failed to
demonstrate” integrity and “misrepresented facts” regarding an investigation. Had Bed Bath &
Beyond not added its after-acquired, fabricated conclusion that Mr. Magaziner lied we would not
- be writing this letter. But, Mr. Magaziner has a Bachelor of Science depress in Criminal Justice.
He put himself through the Sacramento County Sheriffs Department Academy in 2009 and he
obtained his POST academy graduate certificate. Mr. Magaziner has a career in law enforcement
that requires him, when seeking a job, to disclose if he has been terminated and the reason for the
termination. Bed Bath & Beyond’s two termination documents are defamatory as they accuse
Mr. Magaziner of purposefully misrepresenting information to his employer. Due to a
requitement to self-publish this defamatory information, Mr. Magaziner has to say that he was
terminated for lack of integrity. Mr. Magaziner’s career in law enforcement has been
‘significantly damaged as a result of his required self-publication. For example, Mr. Magainer has
attempted to obtain a position with the Stockton Police Department, and after being heavily
- questioned on the matter, failed to hire him.

The elements of a defamation claim are (1) a publication that is (2) false, (3) defamatory, (4)
~ unprivileged, and (5) has a natural tendency to injure or causes special damage. Civ.Code § 46,

 

- 1 -This claim was not made in the first termination document and was drummed up during the
human resource investigation. During his interview by human resource after he contested the

termination, he said that the video was poor, but I thought the item on the video could have been
the merchandise. Human resources asked, “so the other managers said the same thing?” Mr.
Magaziner replied “yes”, and this was wrongfully held as him saying that the other managers

. ‘said it was definitely the merchandise.
Case 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 49 of 50

Taus v. Loftus (2007) 40 Cal.4th 683, 720. Mr. Magaziner’s has stated facts specific for each
and every one of these elements. “Defamation constitutes an injury to reputation; the injury
may occur by means of libel or slander. A false and unprivileged oral communication attributing
to.a person specific misdeeds or certain unfavorable characteristics or qualities, or uttering
certain other derogatory statements regarding a person, constitutes slander.’ In addition to false
statements that cause actual damage, the Legislature has specified that slander includes a false
statement that: ‘... Tends directly to injure him in respect to his office, profession, trade or
business, either by imputing to him general disqualification in those respects which the office or
other occupation peculiarly requires, or by imputing something with reference to his office,
profession, trade, or business that has a natural tendency to lessen its profits....’” [Citations
omitted.] Neuyen~-Lam v. Cao (2009) 171 Cal.App.4th 858, 867.

Employers are responsible for their employees if the employee slanders an individual. “Asa
general proposition it may be said that, if an empleyee or agent while acting in the scope of his
authority and in furtherance of the employer's business defames another, his employer or
principal may be held liable therefor.” Correia v. Santos (1961) 191 Cal-App.2d 844, 855. We
acknowledge that an employer has a conditional privilege to communicate, without malice, with
persons who have a “common interest” in the subject matter of the communication. [Civ.C. §
47(c)| But, actual malice can be shown where an employer continued to make defamatory
assertions even when they were found to lack merit. Mamou v. Trendwest Resorts, Inc. (2008)
165 Cal.App.4th 686, 729; Cuenca v. Safeway San Francisco Employees Fed. Credit Union
(1986) 180 Cal.App.3d 985, 997. Malice can also be shown where the publication was made
with reckless disregard of the truth, as evidenced by the failure to investigate thoroughly and
verify the facts stated (Rollenhagen v. City of Orange (1981) 116 Cal.App.3d 414, 423) or by
evidence of purposeful avoidance of the truth or deliberate decision not to investigate facts
(Antonovich y. Sup.Ct. (Schwellenbach) (1991) 234 Cal.App.3d 1041, 1048). The statements
contained in the document in his personal file were initially not investigated at all as evidenced
by the fact that once they were investigated shown to be false. Nonetheless, Bed Bath & Beyond
continued to hold to the document solely in order to “validate” its decision to terminate Mr.
Magaziner. Thus, the qualified privilege will not lost in this matter.

In addition, there has been publication in this matter. A former employer may be liable for
damages resulting from the employee's voluntary republication of the defamation when the
employee is under a strong compulsion to disclose to others defamatory statements made bv the
former employer. It is enough that the circumstances creating the strong compulsion to repeat the
defamation were foreseeable when the former employer made the defamatory statement to the
employee. McKinney v. County of Santa Clara (1980) 110 Cal.App.3d 787, 796-797, see also
CACI 1708. As Mr. Magaziner explained during his appeal of his termination, he is required to
give a truthful explanation as to the reason for his termination when secking law enforcement

" positions. During the appeal, Mr. Magaziner was told that he could say whatever he wanted as
the reason for the termination and that Bed Bath & Beyond would not contradict his reasoning.
This is unacceptable as it still requires Mr. Magaziner to lie, Mr. Magaziner’s personnel file can
be discovered in a variety of situations, and if his law enforcement employer discovered the
documents contained herein show that he lied on a job application it is certain that he would not
only lose that position but would be unable to find another.
Case 2:17-cv-01339-KJM-AC Document 1-2 Filed 06/29/17 Page 50 of 50

Conclusion

As 1] am sure you know, the Labor Code allow for attorney’s fees in this matter. Of course,

attorney’s fees would also increase exponentially as our involvement in the matter increases.
Nonetheless, we are hopeful that the matter can be resolved short of litigation.

7 We would recommend that Mr. Magaziner accept $220,000 as well as a removal/retraction of the
defamatory reasons for his termination as full and final settlement of this matter in exchange for
our not filing a lawsuit. [f there is interest in resolving these claims short of litigation, please
contact the undersigned prior to December 23, 2016.

Sincerely,

HENK LEONARD
A Professional Yaw Corporation
4 e ;

 

Counsel
